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     Attorney for Defendant
 6   LUCIO GONZALEZ-PEREZ
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:08-cr-00340 OWW
                                                      )
12                          Plaintiff,                )   ORDER REGARDING HEARING ON
                                                      )   DEFENDANT LUCIO GONZALEZ-PEREZ’S
13          v.                                        )   MOTION FOR DISCOVERY
                                                      )
14   LUCIO GONZALEZ-PEREZ,                            )
                                                      )
15                          Defendants.               )   Judge: Hon. Oliver W. Wanger
                                                      )
16                                                    )
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18          On July 27, 2009, the Court heard Defendant Lucio Gonzalez-Perez’s motion for discovery. Upon
19   consideration of the written and oral arguments of the parties, AND GOOD CAUSE APPEARING, the
20   Court hereby issues the following order:
21   1.     The government shall produce, by August 10, 2009, any and all statements, written or oral, made
22   by defendant to government agents.
23   2.     The government shall produce, by August 10, 2009, any and all laboratory reports, fingerprint
24   analysis, handwriting analysis, chemical analysis, or any other scientific tests regarding the subject of the
25   events and charges alleged in the indictment.
26   3.     The government shall produce, by August 10, 2009, any evidence that any prospective government
27   witness has engaged in any criminal act, whether or not resulting in conviction. As to any confidential
28   informant, such information shall be disclosed to the defense no later than 10 court days prior to trial.
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 1   4.      The government shall produce, by August 10, 2009, any evidence of any promises made,
 2   consideration provided (including monetary or immigration), or any other inducements, by the government
 3   in connection with this case in exchange for the person’s testimony or other participation in the case.
 4   .
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 6   IT IS SO ORDERED.
 7   Dated: July 31, 2009                                   /s/ Oliver W. Wanger
     emm0d6                                            UNITED STATES DISTRICT JUDGE
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     [Proposed] Order Regarding Hearing on Defendant
     Lucio Gonzalez-Perez’s Motion for Discovery            -2-
